Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 1 of 39 PageID #: 27




                  EXHIBIT A
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 2 of 39 PageID #: 28
                                                                                                                                      US007181430B1


(12)   United States Patent                                                                                 (10) Patent N0.:                               US 7,181,430 B1
       Buchanan et al.                                                                                      (45) Date of Patent:                                    Feb. 20, 2007

(54)    METHOD AND SYSTEM FOR PROCESSING                                                                        4,578,530 A                3/1986 Zeidler
        FINANCIAL INSTRUMENT DEPOSITS                                                                           4,602,936 A                7/1986 Top? et a1.
        PHYSICALLY REMOTE FROM A
        FINANCIAL INSTITUTION

(75) Inventors: Danne L. Buchanan, Sandy, UT (US);                                                                                             (Continued)
                        William Ronald TitllS, Fruit Heights,                                                            FOREIGN PATENT DOCUMENTS
                        UT (US)
                                                                                                  CA                                2131667 A1             9/1994
(73) Assignee: Netdeposit, Inc., Salt Lake City, UT
                        (Us)
( * ) Notice:           Subject to any disclaimer, the term of this                                                                            (Continued)
                        patent is extended or adjusted under 35                                                                     OTHER PUBLICATIONS
                        U.S.C. 154(b) by 0 days.
                                                                                                  “Preliminary Invalidity Contentions of Defendants”, United States
(21)    Appl. N0.: 09/560,779                                                                     District Court for the Eastern District of Texas Texarkana Division,
                                                                                                  Civil Action No. 5:02cv124, Dec. 3, 2002, pp. 1-20.
(22) Filed:             Apr. 28, 2000
                                                                                                                     (Continued)
(51)    Int. Cl.                                                                                        .                       .
                                                                                                  Primary ExamzneriNga Nguyen
        G06Q 40/00                      (2006.01)                                                     74Att                    A       t         F.       iFl       &Ld       LLP
(52)    us. Cl. .......................... ..  705/45; 705/16; 705/17;                            (         )       Omey’           gen’ or          m”      0 ey    at Her
                         705/18, 705/40, 705/42, 705/43, 705/44,                                  (57)                                      ABSTRACT
                              705/45; 235/379; 235/380; 235/381
(58)    Field of Classi?cation Search ................ .. 705/40,
                             705/42, 43, 44, 45, 16, 17, 18; 235/379,                             A system that includes computer hardware, computer soft
                    I    I                                             23.5680’ 381               Ware, apparatus, and methodology that enables individuals,
        See aPPhCaUOn ?le for Complete Search 11151013’ -                                         businesses, and all types of organizations (both for pro?t and
(56)                References Cited                                                              non-pro?t) to capture and securely transmit check images
                                                                                                  (including, but not limited to, personal checks, business
                   U.S. PATENT DOCUMENTS                                                          checks, travelers checks, money orders, merchant coupons,
                                                                                                  food coupons, line of credit checks, etc.), deposit informa
                   i                       #57168 et 31'                                          tion, and other information from remote locations (i.e.,
       4’264’808 A             ‘V1981 oweills et 31‘                                              locations that could include the ?nancial institution’s remote
       433213672 A *           3/1982 Braun et a1‘ ______________ __ 235/379                      locations, other ?nancial institution’s locations, businesses,
       4,326,258 A             4/19g2 de la Guardia                                               pr1vate resldences, etc.), for the purpose of hav1ng those
       4,358,671 A            11/1982 Case                                                        checks credited to the depositing individual’s or organiza
       4,417,136 A            11/1983 Rushby et a1.                                               tion’s bank account(s) and having the check images (and/or
       4,454,575 A             6/1984 Bushaw et a1~                                               physical checks) entered into the bank check clearing chan
               52 §           18;          liaély ‘12a: 1                                         nels for ultimate delivery to the maker bank for payment out
       4,500,750
            ,    A             2/1985      Elander
                                            yursle et a1.
                                                       a.                                         0             e m ak er a 5 accoun
       4,523,330 A             6/1985 Cain
       4,555,617 A            11/1985 Brooks et al.                                                                            55 Claims, 15 Drawing Sheets


                                                                            E T AL IT                                                MAKER BANK SITE
                                                           (1"              M                  "\m
                                        511111101     <          = BANK or FIRST moan                                                      F"
                                     FIRST DEPOSIT                     CHECK CAPTURE SYSTEM
                                    BEAREN ACCOUNTS
                        m“                                              m                                                              MAKER BANK
                                        SYSTEMS                                                                                            A
                                                                 115                      CHECK                                                / 121
                                    CASH MANAGEMENT




                                                                       BANK OF FIRST DEPOSIT                    ACCOUNTING SYSTEMS
                                                           106                 FRB
                                                                                                       K             DEPOSIT
                                                                                                  “0                 SYSTEMS
                                                                                                                                               113
                                                                                                  m              CASH MANAGEMENT
                                                                                                       '\            SYSTEMS
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 3 of 39 PageID #: 29


                                                      US 7,181,430 B1
                                                                 Page 2

               US. PATENT DOCUMENTS                                           5,819,236 A           10/1998 Josephson
                                                                              5,832,463     A       11/1998   Funk
   416501978   A    3/1987   Hudson @1911                                     5,832,464     A       11/1998   Houvener et a1.
   416801803   A    7/1987   Dilella                                          5,864,871     A        1/1999   Kitain et a1.
   416941147   A    9/1987   Amemiya er 91                                    5,870,725     A        2/1999   Bellinger et :11.
   4,730,767   A    3/1988   Gendron                                          5,889,863     A        3/1999   Weber
   417311524   A    3/1988   Brooks                                           5,890,141     A        3/1999   Carney et a1.
   4,750,201   A    6/1988   Hodgson et a1.                                   5,893,078     A        4/1999   Paulson
   4,843,220   A    6/1989   Haun                                             5,895,453     A        4/1999   Cook
   418581121   A    8/1989   Barber 91 91-                                    5,895,455     A        4/1999   Bellinger et al.
   132%;
    1 1
         A         151323 ginant 611 31
                           99 e a~
                                                                              5,897,625 A
                                                                              5904 844 A
                                                                                                     4/1999 Gustin et a1.
                                                                                                     5/1999 Stone
   4,926,325 A      5/1990 Benton et a1.                                      539103988 A            6/1999 Ballard
   4,948,174 A      8/1990 Thomson et al.                                     5917965 A              6/1999 Cahill et a1‘
   419601981 A     10/1990 Benton @1111                                       5,930,778 A *          7/1999 Geer ......................... .. 705/45
   4,974,878 A     12/1990 Josephson                                          5,936,541 A            g/1999 Stambler
   5,053,607 A     10/1991 Carlson et a1. ........... .. 235/379              5,940,813 A            8/1999 Hutchings
   510541096 A     10/1991   BeiZer                                           5,940,844 A *          8/1999 Cahill et a1. ................ .. 705/45
   510911968   A    2/1992   Higgins er 911                                   5,953,702     A        9/1999   Ohlemacher et
   511211945   A    6/1992   Thomson eta1~                                    5,963,647     A       10/1999   Downing et al.
   511221950   A    6/1992   Benton er 91                                     5,963,659     A       10/1999   Cahill et al.
   511441115   A    9/1992   Yoshida                                          5,974,148     A       10/1999   Stambler
   21231222
    1   1
            A      13/13:; gailavkil
                             u Ore a~
                                     1                                        5,978,840 A
                                                                              5,999,624 A
                                                                                                    11/1999 Nguyen
                                                                                                    12/1999 Hopkins
                                                                                                                    et a1.
   511751682 A     12/1992 Higashiyama @1111                                  6,019,282 A            2/2000 Thompson et al.
   512001993 A      4/1993 Wheeler 91 91-                                     6,021,202 A            2/2000 Anderson et a1.
   5,229,764 A      7/1993 Matchett et a1.                                    6,029,172 A            2/2000 Jorna et a1‘
   5,237,158 A      8/1993 Kern et a1.                                        6,032,137 A            2/2000 Ballard
   512371159 A      8/1993 Stephens @1111                                     6,036,344 A            3/2000 Goldenberg .............. .. 364/408
   512741567
   5,265,007 A     12/1993
                   11/1993 Kallin
                           Barnhard,
                                  @1111Jr. et a1.                             6,045,039
                                                                              6,038,553 A            4/2000
                                                                                                     3/2000 Hyde,
                                                                                                            StinsonJr‘et a1.
               A    2133: 501%; eta1~                                         6,105,011 A            8/2000 Morrison, Jr. ............. .. 705/45
    1   1                      9 e S                                          6,108,104 A            8/2000   Tesavis
   513261959 A      7/1994 PemZZa                                             6,112,902 A            9/2000 Hayduchok et :11.
   5,373,550 A     12/1994 Campbell et a1. .... .. 379/100.11                 6,115,509 A            90000 Yeskel
   5,384,835 A      1/1995 Wheeler et a1.                                     6,138,107 A           10/2000 Elgamal
   5412490 A        5/1995 J°SePhS°n et 31'                                   6,164,528 A           12/2000 Hills et al.
   5425980 A        6/1995 Abb‘e                                              6178409 B1             1/2001 Weber et a1
   5,438,184 A      8/1995   Roberts et a1.                                    ’   ’                               .        '
   5,444,779 A      M995 Daniele                                              6,181,837 B1           1/2001 Cahlll et a1.
   5,444,794 A      @1995 Uhland’Sr‘                                          6,189,785 B1*          2/2001 Lowery .................... ..235/379
               A             Rosen                                                                            Houvener et a1.
   5,473,143 A     12/1995 Vak et a1‘                                         6,257,783 B1 *         7/2001   Hanaoka et a1. .......... .. 400/578
   5,484,988 A      1/1996 Hills et a1‘                                       6,289,322 B1 *         9/2001   Kitchen et a1. ............. .. 705/40
   5,488,671   A    1/1996   Kern                                             6,301,379     B1      10/2001 Thompson et a1.
   5,504,822   A    4/1996   Hon                                              6,363,164     B1       3/2002 Jones et a1.
   5,506,691   A    4/1996   Bednar et a1.                                2002/0001393      A1       1/2002 Jones et a1.
   5,528,705   A    6/1996   Reasoner, Jr. et a1.                         2002/0152170      A1      10/2002 Dutta et a1.
   5,528,765   A    6/1996   Milligan                                     2003/0009420      A1       1/2003 Jones
   515321464   A    7/1996   Josephson er a1                              2003/0023557      A1       1/2003 Moore
   515441255   A    8/1996   Smithies er a1                               2003/0033252      A1       2/2003 Buttridge et a1.
   21232132; A
    ,   ,
                   151332 glerjanian
                               eer
                                                                          2003/0050869 A1            3/2003 Burke
   5,613,012 A      3/1997 Hoffman et a1.
   5,615,277 A      3,1997 Hoffman                                                     FOREIGN PATENT DOCUMENTS
   5,664,111   A    9/1997   Nahan et a1.                             CA                    2131667              M995
   5,668,897   A    9/1997   Stolfo                                   EP                  0 320 713              M989
   5,673,333   A    9/1997   Johnston
                                                                      EP                  0 320 713 B1           6/1989
   5,677,955   A   10/1997   Doggett et a1.                           EP                  0 320 756              @1989
   5,678,046   A   10/1997   Cahill et 211.
   5,679,938   A   10/1997   Templeton et a1.                         EP                  0   593   209          4/1994
   5,684,965   A   11/1997   Pickering                                EP                  0   661   654 A2      11/1994
   5,689,579   A   11/1997   Josephson                                EP                  0   661   654 A2       7/ 1995
   5,691,524   A   11/1997   Josephson                                EP                  0   671   696          9/1995
   5,708,810   A    1/1998   Kern et a1.                              EP                  0   678   829         10/1995
   5,717,868 A      2/1998 James ...................... .. 395/235    FR                  2 624 632 A1           6/l989
   5,760,916 A      6/1998 Dellert et 211.                            GB                  2 297 414 A            7/1996
   5,783,808   A    7/1998   Josephson                                W0               WO   91/06052             5/1991
   5,784,610   A    7/1998   Copeland, III et a1.                     W0               W0   91/06058             5/1991
   5,787,403   A    7/1998   Randle                                   W0               W0   97/22060 A1         12/1996
   5,787,405   A    7/1998   Gregory                                  W0               W0   97/07468             2/1997
   5,793,302   A    8/1998   Stambler                                 W0               W0   97/22060             8/1997
   5,802,498   A    9/1998   Comesanas                                W0               W0   97/36254            10/1997
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 4 of 39 PageID #: 30


                                                         US 7,181,430 B1
                                                                   Page 3

W0          WO 98/47100            10/1998                              Medeiros, Check Imaging In Proof-of-Deposit Operations, The
                                                                        Tower Group Research Note, Jul. 30, 1993, 001:006, p. 1-13, The
                                                                        Tower Group.
                  OTHER PUBLICATIONS
                                                                        Medeiros, New Developments in Large-Scale Check Imaging Tech
Jeanne Bahnke et al., “NSSDC’S Mass Storage System Evolves”,            nology from IBM and Unisys, TowerGroup, Jan. 1997, 011:07, p.
Mar. 1995, pp. 1 and 2, vol. 11, No. 1., Dec. 2, 2002, http://nssdc.    1-13, TowerGroup, Newton, MA, USA.
gsfc.nasa.gov/nssdc’news/march95/09i jibehnkei0395html.                 Medeiros, Check Fraud Prevention Technologies, TowerGroup,
“Program Product”, Electronic Payment Systems Support/check             Apr. 30, 1996, 008:004, p. 1-16, TowerGroup, Wellesley, MA, USA.
Processing Control System.‘ Program Reference and Operational           Medeiros, Statements with Check Images: Update, TowerGroup,
Manual, 8th ed., Jun. 1986, International Business Machines Cor         Mar. 31, 1996, 007:017R, p. 1-10, TowerGroup, Wellesley, MA,
poration.                                                               USA.
“IBM 3898 Image Processor”, US Marketing & Services, Mar. 13,           Medeiros, Case Studies in Check Imaging Technology for Corpo
1990.                                                                   rate Cash Management Applications, TowerGroup, Mar. 31, 1996,
Lucent Technologies, “Cisco partners with AT&T CMS on network           007:016W, p. 1-14, TowerGroup, Wellesley, MA, USA.
switch manufacturing”, Sep. 26, 1995, Dec. 2, 2002, http://www.         Medeiros, Check Processing: Image Technology and the Outsourc
lucent.com/ress/0995/950926.mma.html.                                   ing Decision, TowerGroup, Jun. 30, 1995, 004:030, p. 1-7,
“At Your Service”, A Newsletter from the Federal Reserve Bank of        TowerGroup, Wellesley, MA, USA.
Kansas City, Special Ed., Summer 1995. Kansas City.                     Medeiros, LockboX Check Processing: Wholesale, Retail, Imaging,
American Bankers Association, American National Standard For            and Work?ow Technology, TowerGroup, Mar. 31, 1995, 004:012, p.
Financial Image Interchange.‘ Architecture, Overview and System         1-13, TowerGroup, Wellesley, MA, USA.
Design Speci?cation, 1994, American National Standards Institute,       Medeiros, IBM’s High Performance Transaction System (HPTS): A
Inc.                                                                    Status Report at the Five-Year Point, TowerGroup, Mar. 31, 1995,
Robert J. Brown, ANSI X946 Data Structure Reference; Jul. 31,           004:011, p. 1-12, TowerGroup, Wellesley, MA, USA.
1995, pp. 4-16.                                                         Medeiros, Small-Scale Check Imaging Systems, TowerGroup, Feb.
Cisco partners with AT&T CMS on network switch manufacturing,           28, 1995, 004:007, p. 1-14, TowerGroup, Wellesley, MA, USA.
Lucent Technologies [On-line], Sep. 26, 1995 [Retrieved Dec. 2,         Medeiros, Update: Check Imaging from IBM and Unisys,
2002]. Retrieved from the Internet:<URL:http://www.lucent.com/          TowerGroup, Oct. 31, 1994, 003:019, p. 1-7, TowerGroup,
press/0995/950926.mma.html.                                             Wellesley, MA, USA.
Behnke et al., NSSDC’s Mass Storage System Evolves [On-line],           Medeiros, Work?ow Software in Banking, TowerGroup Research
Mar. 1995 [Retrieved Dec. 2, 2002], vol. 11, No. 1, Retrieved from      Note, Jan. 26, 1994, 002:003, p. 1-15, TowerGroup.
the    Internet:   <URL:http://nssdc.gsfc.nasa.gov/nssdcinews/          Medeiros, Statements with Check Images, The Tower Group
march9 5/ 09ijibehnkei039 5 .html.                                      Research Note, Sep. 30, 1993, 001:013, p. 1-14, The Tower Group.
Interbank Check Imaging Networking Requirements & Costs (Pre            Medeiros, Check Imaging: The Unisys Approach, The Tower Group
sentation), 9 pages.                                                    Research Note, Aug. 10, 1993, 001:008, p. 1-10, The Tower Group
Speci?cations for the Secure Hash Standard, Federal Information         1993.
Processing Standards Publication 180, May 11, 1993, p. JPMC             NCR’s ATM captures images at the point of deposit. (NCR Corp.’s
000808-000852 (with attached memos).                                    new automated teller machine) (Product Announcement), Dialog(R)
Memo, Requirements for Image Quality Capture Workstation Soft           File 148: Gale Group Trade & Industry DB, Jan. 20, 1993,
ware, To: Susan West, Jo Sander, cc: Fred Strange, Larry Ng, From:      06397449/9, p. 1-4, The Gale Group.
Lyle Weaver, Jan. 23, 1995, p. JPMC 000853-000863.                      Crowe et al., Concurrent Case Studies IV Check Image Business
Foreword, Parts I-II with Appendices, p. i-50.                          Solutions (Presentation), Oct. 20, 1995.
Some Issues Related to Check Image Compression, p. JPMC                 Telecom Advances May Cause Overhaul of Checking Industry,
000920-000930.                                                          Factiva [On-line], Feb. 6, 1992 [Retrieved Jun. 20, 2003, vol. 3, No.
Brickell, Cryptology on Smart Cards (Presentation), Sandia              3, ISSN: 1048-5120, Phillips Publishing, Inc. Retrieved from the
                                                                        Internet: <URL : http: // global . factiva.com/ en/ arch/printire sults .asp.
National Laboratories, 33 pages.
Financial Services Technology Consortium Interbank Check Imag           Nacha’s Electronic Check Council to Push for POS Check Trun
ing Project Meeting, Lawrence Livermore National Laboratory,            cation, Factiva [On-line], Mar. 16, 1995 [Retrived Jun. 24, 2003],
Apr. 25-26, 1994, p. JPMC 000964-001010.                                vol. 6, Issue: 5. Retrieved from the Internet: <URL:http://global.
Financial Services Technology Consortium, FSTC Presentation to          factiva.com/en/arch/printiresults.asp.
ANSI, Sep. 30-Oct. 1, 1996.                                             Forms Processing Takes Imaging Beyond the Image Text Retrieval
FSTC Interbank Check Imaging Project, Summary Report, p. 1-11.          Important to Insurance, Banking, Factiva [On-line], Dec. 21, 1995
                                                                        [Retrieved Jun. 25, 2003], vol. 6, Issue: 25, Phillips Business
The Image Forum, Feb. 28-29; Grand Hotel; Atlanta, GA, Global           Information, Inc. Retrieved from the Internet: <URL:http:// global.
Concepts HomePage [On-Line].                                            factiva.com/en/arch/printiresults.asp.
Financial Services Technology Consortium, Interbank Check Imag          Imaging is Bridge to Virtual Banking, Factiva [On-line], Nov. 21,
ing Project (Presentation), May 25, 1994.                               1996 [Retrieved Jun. 26, 2003], vol. 7, Issue: 23, Phillips Business
Medeiros, Case Studies in Check Image Archive Applications at           Information, Inc. Retrieved from the Internet: <URL:http:// global.
Large US Banks: Making the Business Case, The Tower Group, Jul.         factiva.com/en/arch/printiresults.asp.
1998, 016:05W, p. 1-10, The Tower Group, Newton, MA, USA.               Federal Reserve Spurring Image Technology Use Through Its Own
Medeiros, Work?ow Software in Banking: Update, The Tower                Initiatives, Factiva [On-line], Mar. 19, 1992 [Retrieved Jun. 20,
Group, Apr. 30, 1996, 008:006 (replaces 002:003 (Jan. 1994), p.         2003], vol. 3, No. 6, ISSN: 1048-5120, Phillips Publishing, Inc.
1-12, TowerGroup, Wellesley, MA, USA.                                   Retrieved from the Internet: <URL:http://global.factiva.com/en/
Medeiros, Check Image In Proof-of-Deposit: Update, TowerGroup,          arch/printiresultsasp.
Mar. 31, 1996, 007:018, p. 1-11, TowerGroup, Wellesley, MA,             Forms Processing Takes Imaging Beyond the Image, Reference File
USA.                                                                    Item Processing Report, Dec. 21, 1995, p. 1-2, Phillips Business
Medeiros, Check Image Technology in Corporate Cash Manage               Information, Inc.
ment Applications, TowerGroup, Feb. 29, 1996, 007:008W, p. 1-8,         New Guide Addresses Future of Payment Systems, Factiva [On
EXhs. 1-11, TowerGroup, Wellesley, MA, USA.                             line], Apr. 29, 1993 [Retrieved Jun. 20, 2003], vol. 4, No. 8, ISSN:
Medeiros, Electronic Check Presentrnent, TowerGroup, Nov. 30,           1048-5120, Phillips Business Information, Inc. Retrieved from the
1994, 003:020, p. 1-18, TowerGroup, Wellesley, MA, USA.                 Internet: <URL : http: // global . factiva.com/ en/ arch/printire sults .asp.
Medeiros, Check Imaging: The IBM Approach, The Tower Group              Interested in Using Image Technology Within Five Years? You
Research Note, Aug. 10, 1993, 001:010, p. 1-9, The Tower Group.         Better Start Now, Factiva [On-line], Dec. 26, 1991, [Retrieved Jun.
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 5 of 39 PageID #: 31


                                                              US 7,181,430 B1
                                                                       Page 4

20, 2003], vol. 2, No. 25, ISSN: 1048-5120, Phillips Publishing,            Unisys Upgrades Its InfoImage TTPS/TCPS, Factiva [On-line], Jun.
Inc., Retrieved from the Internet: <URL:http://global.factiva.com/          9, 1994 [Retrieved Jun. 24, 2003], vol. 5, Issue: 11, Retrieved from
en/arch/printire sults .asp.                                                the Internet: <URL:http://global.factiva.com/en/arch/printiresults.
NYCH Gears Up for ECP Pilot, Factiva [On-line], Aug. 6, 1992                asp.
[Retrieved Jun. 20, 2003], vol. 3, No. 15, ISSN: 1048-5120, Phillips        News Briefs, Factiva [On-line], Nov. 6, 1997 [Retrieved Jun. 20,
Publishing, Inc. Retrieved from the Internet: <URL:http://global.           2003], vol. 8, Issue: 22, Phillips Business Information, Inc.
factiva.com/en/arch/printiresults.asp.                                      Retrieved from the Internet: <URL:http://global.factiva.com/en/
Check Image System Opens Doors for Developer, Service Com                   arch/printiresultsasp.
pany, Factiva [On-line], Jun. 10, 1993 [Retrieved Jun. 20, 2003],           Image Processing Package, Factiva [On-line], Aug. 3, 1995
vol. 4, No. 11, ISSN: 1048-5120, Phillips Business Information, Inc.        [Retrieved Jun. 25, 2003], vol. 6, Issue: 15. Retrieved from the
Retrieved from the Internet: <URL:http://global.factiva.com/en/             Internet: <URL : http: // global . factiva.com/ en/ arch/printire sults .asp.
arch/printiresultsasp.                                                      J&B Introduces Image System, Factiva [On-line], Aug. 3, 1995
Banks Eliminate Teller Traf?c With ‘Smart’ ATMs, Factiva [On                [Retrieved Jun. 25, 2003], vol. 6, Issue: 15. Retrieved from the
line], Feb. 3, 1994 [Retrieved Jun. 20, 2003], vol. 5, No. 2, ISSN:         Internet: <URL : http: // global . factiva.com/ en/ arch/printire sults .asp.
1048-5120, Philips Business Information, Inc. Retrieved from the            NCR Unveils SIIPS New Product Features POD, Customer-Facing
Internet: <URL :http ://global .factiva. com/en/arch/printiresults .asp.    Applications, Factiva [On-line], Jan. 18, 1996 [Retrieved Jun. 25,
EDS Becomes IBM’s First Remote Image Distribution Customer,                 2003], vol. 7, Issue: 1, Phillips Business Information, Inc. Retrieved
Factiva [On-line], Mar. 30, 1995 [Retrieved Jun. 24, 2003], vol. 6,         from the Internet:            <URL:http://global.factiva.com/en/arch/
Issue: 6. Retrieved from the Internet: <URL:http://global.factiva.          printiresultsasp.
com/en/arch/printiresults . asp.                                            TWS Systems Snags Contract, Factiva [On-line], Oct. 24, 1996
Banctec/Recognition Merger No Longer A Sure Thing, Item Pro                 [Retrieved 777], vol. 7, Issue: 21, Phillips Business Information, Inc.
cessing Report, Aug. 31, 1995, p. 1-10, vol. 6, No. 17, Phillips            Retrieved from the Internet: <URL:http://.
Business Information, Inc., Washington, DC, USA.                            Unisys Plans Payment Systems Reorganization, Item Processing
IBM Announces Two Applications, Factiva [On-line], Oct. 12, 1995            Report, Nov. 23, 1995, p. 1-10, vol. 6, No. 23, Phillips Business
[Retrieved Jun. 25, 2003], vol. 6, Issue: 20. Retrieved from the            Information, Inc., Washington, DC, USA.
Internet: <URL :http ://global .factiva. com/en/arch/printiresults .asp.    Banctec to Take Over Recognition International, Item Processing
Banks Increase Fees With Image-Cash Management, Factiva [On                 Report, May 25, 1995, p. 1-10, vol. 6, No. 10, Phillips Business
line], Nov. 9, 1995, [Retrieved Jun. 25, 2003], vol. 6, Issues: 22,         Information, Inc., Washington, DC, USA.
Phillips Business Information, Inc. Retrieved from the Internet:            Image Interchange Committee Continues to Hone Formal Draft of
<URL:http://global.factiva.com/en/arch/printiresults.asp.                   Standard, Factiva [On-line], Apr. 1, 1993 [Retrieved Jun. 20, 2003],
Bank Manages Remote Sites With Check-Imaging System, Factiva
                                                                            vol. 4, No. 6, ISSN: 1048-5120, Phillips Business Information, Inc.
[On-line], Sep. 12, 1996 [Retrieved Jun. 25, 2003], vol. 7, Issue: 18,      Retrieved from the Internet: <URL:http://global.factiva.com/en/
Phillips Business Information, Inc. Retrieved from the Internet:            arch/printiresultsasp.
<URL:http://global.factiva.com/en/arch/printiresults.asp.                   Vendors Take Image Interchange Into Their Own Hands, Factiva
VSoft Offers Check Imaging, Factiva [On-line], Oct. 10, 1996
[Retrieved 77], vol. 7, Issue: 20, Phillips Business Information, Inc.      [On-line], Apr. 15, 1993 [Retrieved Jun. 20, 2003], vol. 4, No. 7,
Retrieved from the Internet: <URL:http://.                                  ISSN: 1048-5120, Phillips Business Information, Inc. Retrieved
                                                                            from the Internet:        <URL:http://global.factiva.com/en/arch/
DSI Scores Record Check Image Deal, Factiva [On-line], Dec. 5,
1996 [Retrieved Jun. 26, 2003], vol. 7, Issue: 24, Phillips Business
                                                                            printiresultsasp.
Information, Inc. Retrieved from the Internet: <URL:http:// global.         Beware of Check Image Archival Scheme, Factiva [On-line], Oct.
factiva.com/en/arch/printiresults.asp.                                      10, 1996 [Retrieved 777], vol. 7, Issue: 20, Phillips Business
Yes, Virginia, There is a Payback to Imaging, Factiva [On-line],            Information, Inc., Retrieved from the Internet: <URL:http://.
Dec. 19, 1996 [Retrieved Jun. 26, 2003], vol. 7, Issue: 25, Phillips        Group Unveils Paperless Check-Clearing System, Item Processing
Business    Information,    Inc.   Retrieved    from    the    Internet:    Report, Dec. 21, 1995, p. 1-8, vol. 6, No. 25, Phillips Business
<URL:http://global.factiva.com/en/arch/printiresults.asp.                   Information, Inc., Washington, DC, USA.
Check Recapture Processing Software Gets US. Patent, Factiva                Optika, Factiva [On-line], Oct. 1, 1992 [Retrieved Jun. 20, 2003],
[On-line], Apr. 10, 1997 [Retrieved Jun. 26, 2003], vol. 8, Issue: 7,       vol. 3, No. 19, ISSN: 1048-5120, Phillips Business Information, Inc.
Phillips Business Information, Inc. Retrieved from the Internet:            Retrieved from the Internet: <URL:http://global.factiva.com/en/
<URL:http://global.factiva.com/en/arch/printiresults.asp.                   arch/printiresultsasp.
Vendors Roll Out Internet Modules, Factiva [On-line], Apr. 11, 1996         Use of High-Speed Image Remittance Systems Steadily Increases,
[Retrieved Jun. 27, 2003], vol. 7, Issue: 7, Phillips Business              Factiva [On-line], May 28, 1992 [Retrieved Jun. 20, 2003], vol. 3,
Information, Inc. Retrieved from the Internet: <URL:http:// global.         No. 11, ISSN: 1048-5120, Phillips Publishing, Inc. Retrieved from
factiva.com/en/arch/printiresults.asp.                                      the Internet: <URL:http://global.factiva.com/en/arch/printiresults.
Remittance Companies Eager to Embrace Uses for New Image                    asp.
Technology, Item Processing Report, Jul. 20, 1995, p. 1-10, vol. 6,         NCR’s ATM Captures Images at the Point of Deposit, Factiva
No. 14, Phillips Business Information, Inc., Washington, DC, USA.           [On-line], Dec. 24, 1992 [Retrieved Jun. 20, 2003], vol. 3, No. 25,
IBM Sees Growth Ahead in Image Delivery, Archive, Item Pro                  ISSN: 1048-5120, Phillips Business Information Inc., Retrieved
cessing Report, Oct. 26, 1995, p. 1-10, vol. 6, No. 21, Phillips            from the Internet:        <URL:http://global.factiva.com/en/arch/
Business Information, Inc., Washington, DC, USA.                            printiresultsasp.
Michigan National: First to the IBM Image Statement Punch,                  PC Image Remittance Systems Vendors Beef Up Features, Factiva
Factiva [On-line], Feb. 20, 1992 [Retrieved Jun. 20, 2003], vol. 3,         [On-line], Mar. 5, 1992 [Retrieved Jun. 20, 2003], vol. 3, No. 5,
No. 4, ISSN: 1048-5120, Phillips Publishing, Inc. Retrieved from            ISSN: 1048-5120, Phillips Publishing, Inc. Retrieved from the
the Internet: <URL:http://global.factiva.com/en/arch/printiresults.         Internet: <URL : http: // global . factiva.com/ en/ arch/printire sults .asp.
asp.                                                                        Image-Based Check Archival System, Factiva [On-line], Apr. 15,
Bantec, Factiva [On-line], Oct. 29, 1992 [Retrieved Jun. 20, 2003],         1993 [Retrieved Jun. 20, 2003], vol. 4, No. 7, ISSN: 1048-5120,
vol. 3, No. 21, ISSN: 1048-5120, Phillips Business Information, Inc.        Phillips Business Information, Inc. Retrieved from the Internet:
Retrieved from the Internet: <URL:http://global.factiva.com/en/             <URL :http ://global .factiva. com/en/arch/printiresults .asp.
arch/printiresultsasp.                                                      Brouillette, BofA Is Doubtful on No-Check Plan, The American
Shawmut Saves $200,000 a Year With Image Exception System,                  Banker, Apr. 10, 1979, Section: p. 2, American Banker, Inc.
Factiva [On-line], Dec. 9, 1993 [Retrieved Jun. 20, 2003], vol. 4,          Kutler, Burroughs, Midland Study Image Processing, The American
No. 24, ISSN: 1048-5120, Phillips Business Information, Inc.                Banker, Apr. 10, 1979, Section: p. 2, American Banker, Inc.
Retrieved from the Internet: <URL:http://global.factiva.com/en/             Images Shown as Checks Record, The American Banker, May 22,
arch/printiresultsasp.                                                      1979, Section: p. 6, American Banker, Inc.
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 6 of 39 PageID #: 32


                                                        US 7,181,430 B1
                                                                  Page 5

Grimes, IBM Study Finds a Potential Savings Of 12% from Internal       Payments, Clearance, and Settlement; A Guide to the Systems,
Check Nonreturn, The American Banker, May 21, 1980, Section:           Risks, and Issues, Report to the Chairman Committee on Banking
Bank Automation Annual; p. 14, American Banker, Inc.                   and Financial Services House of Representatives (001656), Jun.
The Image and Check Processing; Truncation, Transmission Not Yet       1997, GAO/GGD97-73, United States General Accounting O?ice.
Here, But BancTec Takes A Major Step Forward, United States            Image Technology in Banking Conference, Oct. 18-20, 1995, Nash
Banker, Feb. 1983, Section: p. 61, Faulkner & Gray.                    ville, Tennessee, #P15976.
Ferris, Fed Backs Off Plan to Increase Clearing Fees for Remote        Financial Services Technology Consortium Interbank Check Imag
Banks, The American Banker, Apr. 1, 1985, Section: p. 1, American      ing Project, Financial Services Technology Consortium, New York,
Banker, Inc.                                                           NY, May 25, 1994.
The Leading Edge; Image processing technology: the pieces are          Few Banks Buying Check-Image Systems, Technology/Operations,
falling into place, ABA Banking Journal, Nov. 1985, Section:           American Banker, pp. 16-38, Apr. 5, 1994.
Computers & Operations, p. 30, American Bankers Association.           Financial Services Technology Consortium Interbank Check Imag
Kutler, TRW Sells Image Processing System to Norwegian Clearing        ing Project, ABA Corporate Operations Committee, pp. 1-6, Apr.
House, The American Banker, Nov. 16, 1988, Section: Technology         28, 1995.
Today, p. 9, American Banker, Inc.                                     Request for Proposal for Check Image Processing and Archival and
Hellauer, Check processors deal with image at conference; Bank         Retrieval Systems for the Federal Reserve, Image Archival System
Administration Institute’s 12th annual check processing conference,    RFP, FR-INTERNAL, Version 1.0, Apr. 21, 1994.
Computers in Banking, Jun. 1989, vol. 6, No. 6, p. 14, ISSN:           Name of Attendees Offerors Conference, pp. 1-2, May 13, 1994.
0742-6496, Information Access Company.                                 Capture and Processing Overview, 5 pages.
Ferring, Image Processing Seen as Hottest Banking Tool by 1994,        Capturing and Processing Overview, 5 pages, (Same As Above).
The American Banker, Feb. 26, 1990, Section: Technology News, p.       Image Archival System RFP, Federal Reserve Bank of Boston,
3, American Banker, Inc.                                               Version 1.c, Revised Jun. 7, 1994.
Gullo, NCR Plans Imaging System To Run on Microprocessor, The          Request for Proposal for Check Image Processing and Archival and
American Banker, May 24, 1990, Section: Technology News, p. 3,         Retrieval Systems for the Federal Reserve, Image Archival System
American Banker, Inc.                                                  RFP, Version 1.b, Revised May 26, 1994.
Gullo, NCR Corp.’s Image System May Be Ahead of Its Time, The          New York Clearing House CHECCRS Project, New York Clearing
American Banker, Nov. 16, 1990, Section: Technology News, p. 3,        House, Feb. 25, 1994.
American Banker, Inc.                                                  Payments, Clearance, and Settlement, A guide to the Systems,
McDonald, Create a National Bank for Imaging Services, The             Risks, and Issues, United States General Accounting O?ice, Report
American Banker, Sep. 9, 1991, Section: Comment, p. 4, American        to the Chairman Committee on Banking and Financial Services,
Banker, Inc.                                                           House of Representatives, GAO/GGD-97-73, pp. 1-189, Jun. 1997.
Maj or check industry changes no longer a pipe dream; innovations      Financial Services Technology Consortium Interbank Check Imag
in check processing helps reduce check fraud and cut cost for          ing Project, Financial Services Technology Consortium, New York,
banking services, Financial Services Report, Dec. 23, 1992, vol. 9,    NY, May 25, 1994.
No. 25, p. 2, ISSN: 0894-7260, Information Access Company.             Barclays Revs Up IBM Check Imaging System, Technology/Op
Crockett, Imaging System: Fed Seeks Proposals For Check Image          erations, American Banker, pp. 14, Mar. 29, 1994.
System, The American Banker, Apr. 6, 1994, Section: Technology         Barnett Moving to Image-Based Check Sorting, Technology/Op
Report, p. 1, American Banker, Inc.                                    erations, American Banker, pp. 31, Mar. 25, 1994.
Toward a new era of cutromer service, Bank Systems & Technology,       Secure Remote Access to Financial Services for the Financial
Oct. 1995, vol. 32, No. 10, p. S2-S10, ISSN: 1045-9472; CODEN:         Services Industry, Working Draft, American National Standard X9,
BSEQD6, UMI, Inc.; ABI/INFORM.                                         American Bankers Association, Aug. 10, 1998, United States.
Lunt, Welcome to sfnb.com The paradigm just shifted, ABA Bank          DNS Support for Load Balancing, Rutgers University, pp. 1-7, Apr.
ing Journal, Dec. 1995, Section: Cover Story, p. 40, American          1995.
Bankers Association.
FSTC Demonstrates Interbank Check Image Pilot; Multi-Vendor            RFP Amendment, RFP Amendment, Offerors, Federal Reserve
                                                                       Bank of Boston RFP #0729, Apr. 12, 1995.
Systems Speeds Check Clearing, Cuts Fraud; FSTC Pilot Lays
Foundation for Paper Check Truncation, PR Newswire, Dec. 12,           RFP Amendment, RFP Amendment, Offerors, Federal Reserve
1995, Section: Financial News, PR Newswire Association, Inc.           Bank of Boston RFP #0729, Apr. 12, 1995. Duplicate Of Above.
Marjanovic, Fed Buys Banctec Check-Image Storage System, The           Development of an Image-Enhanced Truncation Check Processing
American Banker, Feb. 1, 1996, Section: Technology/Operations, p.      SystemiRequest for Proposals-, Federal Reserve Bank of Boston,
18, American Banker, Inc.                                              Feb. 7, 1992.
Image Technology in Banking Conference, Reference Guide, Oct.          Development of an Image-Enhanced Truncation Check Processing
18-20, 1995, Bank Administration Institute, Nashville, TN, USA.        SystemiRequest for Proposals-, Federal Reserve Bank of Boston,
Check Processing Conference, Reference Guide, Mar. 22-25, 1994,        Feb. 1992.
Bank Administration Institute, New Orleans, Louisiana, USA.            From Check Research to Fraud Control, Financial Professionals are
Banctec announces new image archiving product and initial sale to      turning to: Image-Based Cash Management, EC World, Retrieved
major US. bank, Business Wire, Nov. 10, 1994, Business Wire, Inc.      from the Internet: ,URL:http://www.ecomworld.com, Apr. 1997.
Storage Technology and Data General Adopt DLT Tape Drives,             Roush, Crain’s Detroit Business, MSWiDraft, pp. 306-308, Aug.
Data Storage Report, May 1, 1996, Section: ISSN: 0267-5447,            6, 2003.
Information Access Company.                                            Tramer, Giving a Boost to Smaller Banks; Fed’s Paperless Check
IA Corp. Uses StorageTek Robotic Library for First Client/Server       Processing System Helps Little Guys Compete, MSWiDraft, pp.
Check Image Archive at Union Bank of California; New client/           260-261, Aug. 6, 2003.
server CheckVision Archive Application Stores Millions of Checks       LipowicZ, Banks Seek Way to Vie With Fed, MSWiDraft, pp.
Per Day Using StorageTek Technology for Quicker Image Retrieval        211-212, Aug. 6, 2003.
and On-line Client Viewing, Business Wire, Oct. 7, 1996, Business      Seeberg, Advanced Document Processing at the Union Bank of
Wire, Inc.                                                             Norway, IMC Journal, pp. 23-25, 1983.
Davies et al., Security for Computer Networks, An Introduction to      Coyle, et al., Beyond the Hype4Character Recognition and Check
Data Security in Teleprocessing and Electronic Funds Transfer,         Image Processing, You’re not Ready to Make a Business Judgement
1989, Second Edition, John Wiley & Sons.                               About Image Check Processing, Unless you Understand the Trade
Brisco, DNS Support for Load Balancing, Apr. 1995, p. 1-7, Trade       Offs in Acceptance and Substitution rates, Bank Management, vol.
& Industry; Magazine.                                                  LXVII, No. 5, pp. 30-36, May 1991.
Santa Fe Firm Offers Long-Life Data, Data Channels, Jan. 15, 1996,     Wagner, Sizing Up The Impact of Image Processing, Computers in
vol. 23, No. 2, ISSN: 0092-7290, Information Access Company.           Banking, vol. 6, No. 6, pp. 22, 68, Jun. 1989.
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 7 of 39 PageID #: 33


                                                          US 7,181,430 B1
                                                                    Page 6

Tra?icking Invoices Behind the Freight, Modem Railroads, vol. 44,        Uhrich, The IBM ImagePlus High Performance Transaction Sys
No. 19, pp. 46-47, Oct. 1989.                                            tem, Today, vol. 12, No. 7, May-Jun. 1992.
Bussert, The Paper Predicament, A Hunter Publication, vol. 18, No.       Gellerman, California Bank Cashes In On Cash Imaging System,
7, pp. 72, 74, Jul. 1990.                                                Imaging World, vol. 3, Issue 10, Oct. 18, 1994.
Matthews, Markets Jolted by Fed Action, Fears of Frequent Rate           Banking’s Role In Tomorrow’s Payments System, Payments Sys
Hikes, American Banker, The Daily Financial Services Newspaper,          tem Overview, A Study Prepared For The Banking Research Fund
vol. CLIX No. 74, Apr. 19, 1984.                                         On Behalf Of The Payments Systems Committee Of The Bankers
Helm, Banks Check Into Image Processing, Image will Revolution           Roundtable, Furash & Company, Chapter I, vol. II, Jun. 1994.
iZe Check Processing Even More Than MICR did some 30 Years               AT&T SIIPS Proof-of-Deposit Operations Guide, AT&T Con?den
Ago. Some Bankers Are Eager To Jump In, Even Though It’s an              tial, D1-4619-A, Issue 1, Mar. 1995.
Expensive Technology and It’s Expected To Do a Lot of Things             AT&T SIIPS Proof-of-Deposit Operations Guide, General Informa
That It Can’tiYet, Computers in Banking, vol. 7, No. 3, Mar. 1990.       tion.
Tracey, IBM Unveils First Stage of Image/Check System, Comput            AT&T SIIPS Proof-of-Deposit System Administration Guide.
ers in Banking, vol. 7, No. 4, Apr. 1990.                                Medeiros, David W., “Image Technology Applications in Check
Newman, et al., Cryptography in the Private Sector, IEEE Com             Processing,” presented at the BAI Transaction Processing Confer
munications Magazine, vol. 24, No. 8, pp. 7-10, Aug. 1986.               ence, San Antonio, TX, Mar. 31, 1996, pp. 1-106.
Kutler, TRW Sells Image Processing System to Norwegian Clearing          Medeiros, David W., “Introduction to Check and Document Imag
House, American Banker, The Daily Financial Services Newspaper,          ing,” presented at the BAI Image Technology in Banking Confer
vol. CLIII, No. 224, Nov. 16, 1988.                                      ence, Orlando, FL, Oct. 27, 1996, pp. 1-100.
Howe, et al., Government Plans for Data Security Spill Over To           Medeiros, David W., “Image Technology Applications in Check
Civilian Networks, Data Communications, Mar. 1987.                       Processing,” presented at the BAI Transaction Processing
Marjanovic, Five More Big Regionals Join National Clearinghouse,         SuperConference, New Orleans, LA, Mar. 24, 1998.
American Banker, The Daily Financial Services Newspaper, vol.            Medeiros, David W., “Introduction to Check and Document Imag
CLIX, No. 140, Jul. 22, 1994.                                            ing,” presented at the BAI Image Technology in Banking Confer
Brubaker, et al., Electronic Check Presentment Is Ready For the          ence, Nashville, TN, Oct. 18, 1995, pp. 1-93.
Challenge of Same-Day Settlement, American Banker, The Daily             IBM HPTS General Information Manual, Glossary, Numerics,
Financial Services Newspaper, vol. CLVIII, No. 228, Dec. 1993.           Bibliography, and Index, 1990, pp. X1 to X15.
Carreker, Strides in Electronic Checking Transforming Payment            IBM ImagePlus High Performance Transaction System, General
System (Includes Related Articles) (Cover Story), Bank Adminis           Information Manual, 1990, pp. i-x, and 1-1 to 5-10 and A1 to A5.
tration Institute, vol. 68, No. 3, pp. 1-14, Mar 1, 1992.                IBM ImagePlus High Performance Transaction System, General
Iida, Electronic Presentment Due for NY. Test, American Banker,          Information Manual, 1990, pp. i-x, and 1-1 to 5-10 and A1 to A6 and
vol. CLVII, No. 142, Jul. 27, 1992.                                      X1-X15.
Maj or Check Industry Changes No Longer A Pipe Dream, Financial          “Operational image systems: A new opportunity,” IBM Systems
Services Report Phillips Business Information, Inc., Factiva, vol. 9,    Journal, 1990, pp. 304-313.
No. 25, ISSN: 0894-7260, pp. 1-5, Dec. 23, 1992.                         “Image system communications,” IBM Systems Journal, 1990, pp.
Murphy, Electronic Check Clearing Alternatives Take Shape, ABA           370-383.
Banking Journal, pp. 62-66, May 1993.                                    Wells, Bev, “Why digitations means dollars: The corporate stake in
Articles, IBM Systems Journal, vol. 29, Issue 3, pp. 1-2, 1990.          bank imaging,” Corporate Cash?ow, vol. 15, No. 9, Aug. 1994, p.
IBM Online Library: Installing and Using the Online Library, IBM         1 and pp. 30-32.
Corp., GC31-8311-07, Eighth Edition, Sep. 1998.                          “Add Value by Reinventing Accounts Receivable Processing,”
Online Library, Payment Solutions Collection, IBM, Dec. 1998.            Corporate Cash?ow, vol. 15, No. 2, Feb. 1994, pp. 2, 17-18, and 27.
IBM 3898 Image Processor, Product Announcement, IBM, US                  O’Donnell, Dorothy, “The Productive Alternative,” October Inform,
Marketing & Services, Mar. 13, 1990.                                     Banking: Financial, and Insurance Case Studies, pp. 3, 46-48, and
IBM ImagePlus High Performance Transaction System Overview,              50.
IBM, US Marketing & Services, pp. 1-7, Mar. 13, 1990.                    “Image processing could cut clearing costs,” Banking World, Apr.
IBM 3995 Optical Library Dataserver Products, IBM Corp., Cus             1993, vol. 11, No. 3, pp. 40-41.
tomiZed Summary, pp. 1-5, Feb. 20, 1992.                                 Dinan, R.F. et al., “ImagePlus High Performance Transaction Sys
ImagePlus High Performance Transaction System (HPTS), IBM                tem,” IBM Systems Journal, vol. 29, No. 3, 1990, pp. 421-434.
Corp., 1990.                                                             “Electronic check presentment on the move,” ABA Banking Jour
Using the ImagePlus High Performance Transaction System                  nal, Aug. 1995, pp. 53-56.
(HPTS) with IBM System/390 Computers, IBM Corp., 1990.                   Gopisetty, S., et al., “Automated formsiprocessing software and
CPCS Mass Data Set, 1-92 CPCS Programming and Diagnostic                 services,” IBM Journal ofResearch and Development, vol. 40, No.
Guide.                                                                   2, Mar. 1996, pp. 211-230.
Kniskern, Engineering a Visionary Solution, Datamation, vol. 36,         Lomb, Reiner, et al., “Storage Management Solutions for Distrib
No. 8, p90(2), pp. 1-3, Apr. 15, 1990.                                   uted Computing Environments,” Hewlett-Packard Journal, Oct.
Fisher, IBM, Customers Continue Work on Document Image Pro               1996, vol. 47, pp. 81-89.
cessor, Datamation, vol. 34, No. 19, p23(2), pp. 1-3, Oct. 1, 1988.      Helm, Sylvia, “Who’s doing what in image processing,” ABA
Nixdorf Computer Introduces DCPA ImageiA Sophisticated                   Banking Journal, Jan. 1991, vol. LXXXIII, No. 1, pp. 31-33.
Document Image Processing System With Unique Capabilities, PR            Gibbs, Mark, “Networks up close and in depth,” Jan. INFORM, pp.
Newswire, Aug. 15, 1989.                                                 17-22.
Bernard, Document Image Processing, 1991: The Imaging Edge               Outlaw, Nowell, “Novell, Inc.,” Jan. INFORM, pp. 36-37.
(The Association for Information and Image Management’s 1991             Arnette, Denise A., “Cash management: Banks turn imaging into
Conference and Exposition held in Washington, DC, on Apr.                speedy new delivery products,” Corporate Casl?ow, vol. 15, No. 1,
29-May 2), Seybold Report on Publishing Systems, vol. 20, No. 19,        Jan. 1994, pp. 1 and 12-13.
p. 22(8), Jun. 24, 1991.                                                 Bensen, Paul, “Digital imaging solves county’s records boom,” Jun.
Marjanovic, Mich. National Streamlines Imaging With IBM System           '96 INFORM, pp. 3 and 28-30.
(check imaging), American Banker, vol. 160, No. 176, p14(1), pp.         “Image technology brings lockbox breakthroughs,” Corporate
1-2, Sep. 13, 1995.                                                      Casl?ow, vol. 16, No. 9, Sep. 1995, pp. 16-18 and 20.
Cooney, Frame Relay Comes to Computerm Extenders, Network                Morrall, Katherine, “The Democratization of Imaging,” Bankers
World, pp. 14, Jun. 28, 1993.                                            Monthly, Special Insert, May 1991, vol. CVIII, No. 5, 5 pages.
Desmond, DataTrade lets traders gather data across nets, Network         Franca, V., “A Station for Capture, Processing and Storing of
World, vol. 7, No. 12, Mar. 19, 1990.                                    Documents,” IEEE, 1991, Proceedings, vol. II, 6Lh Mediterranean
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 8 of 39 PageID #: 34


                                                       US 7,181,430 B1
                                                                 Page 7

Electrotechnical Conference, May 22-24, 1991, Ljubljana,              2002], vol. 157, No. 195, p. 3(1), American Banker. Retrieved from
Slovenia, Yugoslavia, pp. i-xxviii, and 1264-1267.                    the Internet: <URL:http://www.dialogselectcom/news/cgi.
Plesums, C.A., et al., “Large-scale image systems: USAA case          S. Helm, Who’s doing what in image processing, DialogNews
study,” IBM Systems Journal, vol. 29, No. 3, 1990, pp. 342-347.       Document [On-line], Jan. 1991 [Retrieved Nov. 15, 2002], vol. 83,
Fitch, Thomas P., “Check image capture speeds up positive pay         No. 1, p. 31(3), ABA Banking Journal. Retrieved from the Internet:
reconcilement,” Corporate Cash?ow, vol. 16, No. 2, Feb. 1995, pp.     <URL:http://www.dialogselect.com/news/cgi.
1, 7 and 11.                                                          Image systems garner NOAC spotlight, DialogNews Document
Sullivan, Deidre, “Bank Technology Trick or Treat?. ” Beyond          [On-line], Jul. 1989 [Retrieved Oct. 29, 2002], vol. 6, No. 7, p. 8(4),
Computing for Financial Services, Premier Edition, vol. CIX, No.      Computers in Banking. Retrieved from the Internet: <URL:http://
11, pp. 10-20.                                                        www.dialogselectcom/news/cgi.
Medeiros, David, “Small-scale check imaging systems,” The Tower       Imaging products, DialogNews Document [On-line], Aug. 1990
Group, Category: Industry Case Study, check imaging, image            [Retrieved Nov. 15, 2002], vol. 100, No. 8, p. 23(3), United States
lockbox, D100-000, edit history: Sep. 5, 1996.                        Banker. Retrieved from the Internet: <URL:http://www.
Medeiros, David, “Case studies in check imaging technology for        dialogselectcom/news/cgi.
corporate cash management applications,” The Tower Group, Cat         Chemical Chooses IBM Check Imaging, DialogNews Document
egory: Industry Case Study, check imaging, D100-100, edit history:    [On-line], Sep. 1995 [Retrieved Nov. 20, 2002], vol. 8, No. 9, p. 11,
Sep. 5, 1996.                                                         Bank Technology News. Retrieved from the Internet: <URL:http://
Medeiros, David, “Check image technology in corporate cash            www.dialogselectcom/news/cgi.
management application,” The Tower Group, Category: check             Computerm Enables Boatmen’s Bancshares to Execute Remote
imaging, Industry Case Study, image lockbox, D100-200.                Check Imaging, DialogNews Document [On-line], Apr. 8, 1996
Medeiros, David, “Check image in proof-of-deposit: update,” The       [Retrieved Nov. 25, 2002], p. 408LAM013, PR Newswire.
Tower Group, Category: Industry Case Study, check imaging,            Retrieved from the Internet: <URL:http://www.dialogselect.com/
D100-300.                                                             news/cgi.
Medeiros, David, “Statement with check images: update,” The           B. Tracey, IBM unveils ?rst stage of image-check system,
Tower Group, Category: Industry Case Study, check imaging,            DialogNews Document [On-line], Apr. 1990 [Retrieved Nov. 25,
D100-400, edit history: Sep. 5, 1996.                                 2002], vol. 7, No. 4, p. 12(3), Computers in Banking. Retrieved
Benmohamed, Lot?, et al., “Architecture and Performance Analysis      from the Internet: <URL:http://www.dialogselect.com/news/cgi.
of a Large Scale Archival and Retrieval System,” Proceedings          Verifone software links PCs to the point of sale, DialogNews
SPlEiThe International Society for Optical Engineering, vol.          Document [On-line], Aug. 16, 1993 [Retrieved Nov. 25, 2002], vol.
2606, Oct. 25-26, 1995, Philadelphia, Pennsylvania, pp. 36-47.        158, No. 156, p. 13A(1), American Banker. Retrieved from the
O’Sullivan, Orla, “Data warehousing-without the warehouse,” ABA       Internet: <URL:http://www.dialogselect.com/news/cgi.
Banking Journal, Dec. 1996, vol. LXXXVIII, No. 12, pp. 3, 42-44.      Computerm eases remote imaging, DialogNews Document [On
Lunt, Penny, “Paper-shy brokerages,” ABA Banking Journal, Oct.        line], Aug. 16, 1993 [Retrieved Nov. 25, 2002], vol. 158, No. 156,
1996, vol. LXXXVIII, No. 10, pp. 3, 73-75.                            p. 13A(1), American Banker. Retrieved from the Internet:
Lunt, Penny, “Micro?lm begone4companies want check images,”           <URL:http://www.dialogselect.com/news/cgi.
ABA Banking Journal, Aug. 1996, vol. LXXXVIII, No. 8, pp. 3, 57,      Computerm Announces Remote Check Imaging Support for VMC
62.
                                                                      8200 High-Speed Channel Extension System, DialogNews Docu
Lunt, Penny, “Image pioneer takes proo?ng to a higher level,” ABA
Banking Journal, Mar. 1995, vol. LXXXVII, No. 3, pp. 2, 60, 62,       ment [On-line], Apr. 8, 1996 [Retrieved Nov. 25, 2002], p.
                                                                      408LAM012,      PR Newswire.        Retrieved from the Internet:
64.
Crowe, Marianne, “Imaging: Getting Clear Bene?ts,” Bank
                                                                      <URL:http://www.dialogselect.com/news/cgi.
SystemsiTechnology, pp. 42, 43, and 1-3.                              J. McGinn, IBM ImagePlus High Perforamnce Transaction System,
“Image Archive Yields Faster Retrieval,” News Briefs, Bank Sys        DialogNews Document [On-line], Mar. 21, 1990 [Retrieved Nov.
tems Technology, May 1996, p. 16.                                     25, 2002], No. 1389, p. CG103210008, Computergram Interna
“Document Management-Imaging System Achieves Payback in               tional. Retrieved from the Internet: <URL:http://www.dialogselect.
One Year,” Managing Oj?ce Technology, Aug. 1997, p. 31.               com/news/cgi.
Taubert, C. “Work?ow System Rids Branches of Paper,” Bank             B. Depompa, IBM adds image-based check processing,
Systems Technology, Jun. 1996, p. 26.                                 DialogNews Document [On-line], Mar. 19, 1990 [Retrieved Nov.
Amato-McCoy, Deena, “State Dept. Credit Union Improves Check          25, 2002], vol. 11, No. 12, p. 12(1), MIS Week. Retrieved from the
Retrieval,” Bank Systems Technology, Apr. 1997, p. 28.                Internet: <URL:http://www.dialogselect.com/news/cgi.
Arend, Mark, “Check imaging: Banks are getting the picture,” ABA      A. Cortese, Image yields interest at banks, DialogNews Document
Banking Journal, May 1992, pp. 44, 47, 49, 51, 53.                    [On-line], Mar. 19, 1990 [Retrieved Nov. 25, 2002], p. 6,
“Six Hardware Devices in One,” Wall Street & Technology, Mar.         Computerworld. Retrieved from the Internet: <URL:http://www.
1993, “Product Watch”.                                                dialogselectcom/news/cgi.
Kulkosky, Victor, “Wall Street Wakes Up to Image Management,”         On the imaging technology front, DialogNews Document [On-line],
Wall Street Computer Review, pp. 39-42.                               Apr. 10, 1996 [Retrieved Nov. 20, 2002], vol. CLXI, No. 68, p. 26,
Fleming, Trent, “The road to imaging for community banks,” ABA        American Banker. Retrieved from the Internet: <URL:http://www.
Banking Journal, Dec. 1993, pp. 60, 62, 65.                           dialogselectcom/news/cgi.
“Unisys check imaging delivers the competitive magic of tomorrow.     Unisys solution will support check processing at Vermont Federal,
Today.,” 1992, Unisys Corporation.                                    DialogNews Document [On-line], May 20, 1996 [Retrieved Nov.
Groenfeldt, Tom, “CheckScan gives images to customers,” Bank          20, 2002], p. 5201185, Business Wire. Retrieved from the Internet:
SystemsiTechnology, Dec. 1995, pp. 20, 22.                            <URL:http://www.dialogselect.com/news/cgi.
O’Keefe, Michele, “Signet’s View: Image is (Almost) Everything,”      Broadway & Seymour to Invest in Two Strategic Initiatives,
Bank SystemsiTechnology, pp. 34+.                                     DialogNews Document [On-line], Mar. 15, 1995 [Retrieved Nov.
Grigsby, Mason, “Document Management-Integrated Document              20, 2002], p. 03151248, Business Wire. Retrieved from the Internet:
Solutions: The Next Generation,” Managing Oj?ce Technology,           <URL:http://www.dialogselect.com/news/cgi.
Dec. 1996, vol. 41, No. 12, pp. 28-29.                                Broadway & Seymour Annnounces Client/ Server Product For Item
ABA Banking Journal, vol. LXXXVII, Issue No. 8, Aug. 1995, p. 2.      And Image Processing, DialogNews Document [On-line], Mar. 20,
S. Marjanovic, Mich. National streamlines imaging with IBM            1995 [Retrieved Nov. 20, 2002], p. 03201186, Business Wire,
system, American Banker, Sep. 13, 1995, p. 1-2, vol. 160, No. 176.    Retrieved from the Internet: <URL:http://www.dialogselect.com/
M. Barthel, Unisys, Banctec offer PC-based imaging; high-tech         news/cgi.
check statements produced; community banks are market,                Broadway & Seymour announces new VISUALIMPACT release,
DialogNews Document [On-line], Oct. 8, 1992, [Retrieved Nov. 20,      DialogNews Document [On-line], Mar. 29, 1996 [Retrieved Nov.
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 9 of 39 PageID #: 35


                                                         US 7,181,430 B1
                                                                   Page 8

20, 2002], p. 3291274, Business Wire. Retrieved from the Internet:      p. 23, Bank Technology News. Retrieved from the Internet:
<URL:http://www.dialogselect.com/news/cgi.                              <URL:http://www.dialogselect.com/news/cgi.
Item processing leaps ahead with VisualImpact and Windows NT,           M. Garvey, Check Processing Goes Digital4Chase Manhattan
DialogNews Document [On-line], Jun. 1995 [Retrieved Nov. 20,            Bank to store checks electronically, saving time and money,
2002], vol. 105, No. 6, p. S4(3), US Banker. Retrieved from the         DialogNews Document [On-line], Sep. 15, 1997 [Retrieved Oct. 24,
Internet: <URL:http://www.dialogselectcom/news/cgi.                     2002], No. 648, p. 20, INFORMATIONWEEK. Retrieved from the
Unisys integrates retail/wholesale lockbox solution for remittance      Internet: <URL:http://www.dialogselect.com/news/cgi.
processors, DialogNews Document [On-line], Mar. 25, 1997                Image Archive Forum, Payments System Task Force, 5 pages.
[Retrieved Nov. 20, 2002], p. 03251075, Business Wire. Retrieved        Image Archive Forum, Payments System Task Force, Flow No.
from the Internet: <URL:http://www.dialogselectcom/news/cgi.            1-13.
BancTec Inc. has received another order for its image statement         Methodology and Value (Presentation), Image Archive Forum, Sep.
processing product, DialogNews Document [On-line], Nov. 13,             19, 1997, p. 1-20; Economic Framework, Jan. 27, 1998 cover page.
1991 [Retrieved Nov. 15, 2002], vol. 8, No. 22, p. 5(2), Financial      Check-Image Interchange Inches Closer, DialogNews Document
Services Report. Retrieved from the Internet: <URL:http://www.          [On-line], Jan. 1997 [Retrieved Oct. 24, 2002], vol. 10, No. 1, p. 19,
dialogselectcom/news/cgi.                                               Bank Technology News. Retrieved from the Internet: <URL:http://
Unisys wins contract to supply imaging solution to Chase Manhat         www.dialogselectcom/news/cgi.
tan/FISERV check processing alliance, DialogNews Document               Financial Services Technology Consortium, PACES Paperless
[On-line], Jun. 12, 1995 [Retrieved on Nov. 15, 2002], p. 6121175,      Automated Check Exchange & Settlement Project Proposal, Apr.
Business Wire. Retrieved from the Internet: <URL:http://www.            23, 1998, p. 1-25.
dialogselectcom/news/cgi.                                               FSTC Projects, Check Image Exchange Project, FSTC: Projects
Chase’s New Image, DialogNews Document [On-line], Mar. 6,               [On-line] [Retrieved Oct. 30, 2002]. Retrieved from the Internet:
1995 [Retrieved Nov. 15, 2002], No. 517, p. 14, Information Week.       <URL :http ://www. fstc .org/proj ects/ imaging/public/information.
Retrieved from the Internet: <URL:http://www.dialogselect.com/          cfm.
news/cgi.                                                               Financial Services Technology Consortium (Ansi6v4(1).ppt), p.
Huntington Bancshares in the Forefront of Technology with Pur           1-27.
chase of Unisys Check Imaging System, DialogNews Document               FSTC Interbank Check Image Project (no1016v4(1).ppt), p. 1-18.
[On-line], Oct. 11, 1989 [Retrieved Nov. 20, 2002], p. 1, PR            Current Check Flow (Gheck(1).ppt), p. 1-4.
Newswire. Retrieved from the Internet:           <URL:http://www.       Check Image Exchange Project, FSTC: Projects [On-line]
dialogselectcom/news/cgi.                                               [Retrieved Oct. 30, 2002]         [Retrieved from the Internet:
Impact of Imaging, DialogNews Document [On-line], Nov. 1991             <URL:http://www.fstc.org/projects/imaging/participants.cfm.
[Retrieved Nov. 20, 2002], vol. 67, No. 11, p. 56, Bank Manage          Checks & Checking: Check Imaging At The Teller Station,
ment. Retrieved from the Internet: <URL:http://www.dialogselect.        DialogNews Document [On-line], Oct. 1996 [Retrieved Nov. 21,
com/news/cgi.                                                           2002], vol. 9, No. 10, p. 37, Bank Technology News. Retrieved from
Systematics to use deposited-check imaging; installation at ?rm’s       the Internet: <URL:http://www.dialogselectcom/news/cgi.
N.J. center would be the ?rst by an outsourcer, DialogNews              Error Messages, NCR 7731 Personal Image Processor (D1-2453-C),
Document [On-line], May 19, 1993 [Retrieved Nov. 20, 2002], vol.        1992, NCR Corporation, USA.
158, No. 95, p. 3(1), American Banker. Retrieved from the Internet:     Planning and Installation Guide, NCR 7731 Personal Image Pro
<URL:http://www.dialogselect.com/news/cgi.                              cessor, (D1-2302-D), 1993, NCR Corporation.
Signet Bank Processes Over 2,500 Documents/Hour in Unisys               General Information, NCR 7731 Personal Image Processor (D1
Check Imaging Tests, DialogNews Document [On-line], Apr. 9,             2301-D), 1993, NCR Corporation.
1991 [Retrieved Nov. 20, 2002], p. 0409P8428, PR Newswire.              NCR and Unisys exchange check images in a pivotal test,
Retrieved from the Internet: <URL:http://www.dialogselect.com/          DialogNews Document [On-line], Apr. 8, 1993 [Retrieved Nov. 20,
news/cgi.                                                               2002], vol. 158, No. 67, p. 3(1), American Banker. Retrieved from
Cincinnati Bell: CBIS & Unisys in Major Imaging Agreement,              the Internet: <URL:http://www.dialogselectcom/news/cgi.
DialogNews Document [On-line], Oct. 29, 1990 [Retrieved Nov.            Banks To Check Out Imaging (SOLUTIONS), DialogNews Docu
20, 2002], vol. 5, No. 118, p. N/A, EDGE, on & about AT&T.              ment [On-line], Oct. 19, 1992 [Retrieved Oct. 24, 2002], No. 093,
Retrieved from the Internet: <URL:http://www.dialogselect.com/          p. 46, Communicationsweek International. Retrieved from the
news/cgi.                                                               Internet: <URL:http://www.dialogselect.com/news/cgi.
Unisys enters image processing market with two new products and         Banks to Test Imaging for Clearing Checks, DialogNews Document
major ?nancial and industrial customers, DialogNews Document            [On-line], Sep. 14, 1992 [Retrieved Nov. 20, 2002], p. 35, Com
[On-line], Oct. 11, 1989 [Retrieved Nov. 20, 2002], p. 1011PH009,       municationsWeek. Retrieved from the Internet: <URL:http://www.
PR Newswire. Retrieved from the Internet: <URL:http://www.              dialogselectcom/news/cgi.
dialogselectcom/news/cgi.                                               NCR demonstrates full line of retail products at NRF conference,
Bill Processing: U S West Re-engineers with $7.2 Million Unisys         AT&T News Release [On-line], Jan. 18, 1993 [Retrieved Nov. 15,
Image-based Remittance Processing Solution, DialogNews Docu             2002]. Retrieved from the Internet: <URL:http://www.att.com/
ment [On-line], Oct. 23, 1995 [Retrieved Nov. 20, 2002], vol. 10,       news/0193/930118.ncd.html.
No. 378, p. N/A, EDGE, on & about AT&T. Retrieved from the              Western Bank purchases NCR’s Document Managing System,
Internet: <URL:http://www.dialogselectcom/news/cgi.                     AT&T.News Release [On-line], Aug. 31, 1993 [Retrieved Nov. 15,
Unisys provides services to Bank of the West to support retail          2002]. Retrieved from the Internet: <URL:http://www.att.com/
banking, DialogNews Document [On-line], Sep. 18, 1995                   news/0892/930831.nca.html.
[Retrieved Nov. 20, 2002], p. 9180098, Business Wire. Retrieved         NCR, CKI to market image-based credit card chargeback system,
from the Internet: <URL:http://www.dialogselectcom/news/cgi.            AT&T News Release [On-line], Jan. 6, 1993 [Retrieved Nov. 15,
Unisys Enhances Check Imager, DialogNews Document [On-line],            2002]. Retrieved from the Internet: <URL:http://www.att.com/
Oct. 24, 1994 [Retrieved Nov. 20, 2002], vol. CLIX, No. 205, p.         news/0193/930106.ncb.html.
15A, American Banker. Retrieved from the Internet: <URL:http://         NCR signs DSI alliance for imaging statement processing, AT&T
www.dialogselectcom/news/cgi.                                           News Release [On-line], Jul. 20, 1992 [Retrieved Nov. 15, 2002].
As Banks Cling To The Conventional, Check-Imaging Struts Its            Retrieved from the Internet: <URL:http://www.att.com/news/0792/
Stuff, DialogNews Document [On-line], Mar. 1994 [Retrieved Nov.         920720.nca.html.
20, 2002], p. 1, Bank Technology News. Retrieved from the               NCR Document Management System includes Kodak, Ricoh prod
Internet: <URL:http://www.dialogselectcom/news/cgi.                     ucts, AT&T News Release [On-line], Apr. 6, 1993 [Retrieved Nov.
POD Check Imaging Faces New Challenges, DialogNews Docu                 15, 2002]. Retrieved from the Internet: <URL:http://www.att.com/
ment [On-line], Mar. 1997 [retrieved Oct. 24, 2002], vol. 10, No. 3,    news/0493/930406.ncc.html.
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 10 of 39 PageID #: 36


                                                          US 7,181,430 B1
                                                                    Page 9

Scanning goes vertical: a big future for specialized check scanning;     12, 1990, No. 728, p. 54, Electronic Buyers’ News. Retrieved from
check scanning technology, Advanced Imaging, Oct. 1997, p. 42-44.        the Internet: <URL:http://www.dialogselectcom/news/cgi.
NCR deposit processing technology speeds banking operations,             Branch data delivered on CD, DialogNews Document [On-line],
AT&T News Release [On-line], Dec. 7, 1992 [Retrieved Nov. 15,            Dec. 1990 [Retrieved Feb. 10, 2003], vol. 82, No. 12, p. 60(1), ABA
2002]. Retrieved from the Internet: <URL:http://www.att.com/             Banking Journal. Retrieved from the Internet: <URL:http://www.
news/1292/921207.ncc.html.                                               dialogselect.com/news/cgi.
Norwest Bank selects NCR image-based processing systems, AT&T            DFA compacts big features, DialogNews Document [On-line], Dec.
News Release [On-line], Aug. 2, 1993 [Retrieved Nov. 15, 2002].          1991 [Retrieved Feb. 10, 2003], vol. 39, No. 12, p. 40(1), Appliance
Retrieved from the Internet: <URL:http://www.att.com/news/0893/          Manufacturer. Retrieved from the Internet: <URL:http://www.
930802.nca.html.                                                         dialogselect.com/news/cgi.
New ATM from AT&T GIS features automated document process                NCR: NCR introduces 7780 item processing system; image-based
ing, AT&T News Release [On-line], Nov. 29, 1994 [Retrieved Nov.          systems scans and reads documents, DialogNews Document [On
15, 2002]. Retrieved from the Internet: <URL:http://www.att.com/         line], Mar. 11, 1992, 06:00 PT [Retrieved on Feb. 10, 2003],
news/1194/941129.ncb.html.                                               Business Wire. Retrieved from the Internet: <URL:http://www.
NCR introduces Scalable Image Item Processing Solution, AT&T             dialogselect.com/news/cgi.
News Release [On-line], Jan. 19, 1996 [Retrieved Nov. 15, 2002].         DFA compacts big features, DialogNews Document [On-line], May
Retrieved from the Internet: <URL:http://www.att.com/news/               1992 [Retrieved Feb. 10, 2003], vol. 40, No. 5, p. 20(1), Appliance
0196,960119.nca.html.                                                    Manufacturer. Retrieved from the Internet: <URL:http://www.
NCR Unveils Client-Server Check Imaging, DialogNews Docu                 dialogselect.com/news/cgi.
ment [On-line], Mar. 1996 [Retrieved Oct. 24, 2002], vol. 9, No. 3,      Banks To Check Out Imaging, DialogNews Document [On-line],
p. 23, Bank Technology News. Retrieved from the Internet:                Oct. 19, 1992 [Retrieved Feb. 10, 2003], p. 46, Com
<URL:http://www.dialogselect.com/news/cgi.                               municationsWeek International. Retrieved from the Internet:
National City, NCR form strategic imaging partnership, AT&T              <URL:http://www.dialogselect.com/news/cgi.
News Release [On-line], Nov. 9, 1992 [Retrieved Nov. 15, 2002].          Norwest Bank selects NCR image-based processing systems, AT&T
Retrieved from the Internet: <URL:http://www.att.com/news/ 1192/         News Release [On-line], Aug. 2, 1993 [Retrieved Feb. 10, 2003].
921109.nca.html.                                                         Retrieved from the Internet: <URL:http://www.att.com/news/0893/
Frost National Bank selects NCR over old mainframe environment,          930802.nca.html.
AT&T News Release [On-line], Apr. 28, 1993 [Retrieved Nov. 15,           Remittance processing software released for community banks,
2002]. Retrieved from the Internet: <URL:http://www.att.com/             DialogNews Document [On-line], Sep. 1, 1993 [Retrieved Feb. 10,
news/0493/930428.nca.html.                                               2003], vol. 10, No. 18, p. 6(1), Financial Services Report. Retrieved
Cincinnati Bell Information Systems (Integrators Briefs),                from the Internet: <URL:http://www.dialogselect.com/news/cgi.
DialogNews Document [On-line], Jul. 12, 1993 [Retrieved Nov. 15,         When clients need to check, Continental’s quick with a fax,
2002], No. 534, p. 129, Computer Reseller News. Retrieved from           DialogNews Document [On-line], Nov. 8, 1993 [Retrieved Feb. 10,
the Internet: <URL:http://www.dialogselectcom/news/cgi.                  2003], vol. 158, No. 214, p. 8A(2), American Banker. Retrieved
250 US. banks to use NCR, Cincinnati Bell ?nancial systems,              from the Internet: <URL:http://www.dialogselect.com/news/cgi.
AT&T News Release [On-line], May 4, 1993 [Retrieved Nov. 15,             National City Enhances Wholesale LockboX Features, DialogNews
2002]. Retrieved from the Internet: <URL:http://www.att.com/             Document [On-line], Feb. 29, 1996, 11:18 EST [Retrieved Feb. 10,
news/0593/930504.ncd.html.                                               2003], PR Newswire. Retrieved from the Internet: <URL:http://
AT&T Global olfers one-step imaging, DialogNews Document                 www.dialogselectcom/news/cgi.
[On-line], Feb. 28, 1994 [Retrieved Nov. 15, 2002], vol. 159, No.        New image-based systems target low-volume shops, DialogNews
39, p. 14A(1), American Banker. Retrieved from the Internet:             Document [On-line], Apr. 10, 1996 [Retrieved Feb. 10, 2003], vol.
<URL:http://www.dialogselect.com/news/cgi.                               13, p. 7(1), Financial Services Report. Retrieved from the Internet:
Regions Bank Selects ImageSoft to Provide Imaging Solution,              <URL:http://www.dialogselect.com/news/cgi.
DialogNews Document [On-line], Sep. 16, 1997 [Retrieved Nov.             Vendors plotting remittance strategies, DialogNews Document [On
 15, 2002], p. 9161220, Business Wire. Retrieved from the Internet:      line], Feb. 12, 1997 [Retrieved Feb. 10, 2003], vol. 14, p. 1(2),
<URL:http://www.dialogselect.com/news/cgi.                               Financial   Services    Report.   Retrieved   from    the   Internet:
Softchec Licenses ‘Envision’ Image Solution to West Suburban             <URL:http://www.dialogselect.com/news/cgi.
Bank, DialogNews Document [On-line], Jan. 16, 1996 [Retrieved            NCR Renames SIIPS, Plans New Sorters, DialogNews Document
Nov. 15, 2002], p. 116SETU002, PR Newswire. Retrieved from the           [On-line], Mar. 13, 1997 [Retrieved Feb. 10, 2003], vol. 8, No. 5,
Internet: <URL:http://www.dialogselectcom/news/cgi.                      p. N/A, Item Processing Report. Retrieved from the Internet:
Unix-based image statement software, DialogNews Document [On             <URL:http://www.dialogselect.com/news/cgi.
line], Feb. 1993 [Retrieved Nov. 15, 2002], vol. 85, No. 2, p. 80(1),    NCR Helps To Speed Up Check Processing, DialogNews Document
ABA Banking Journal. Retrieved from the Internet: <URL:http://           [On-line], May 2, 1997 [Retrieved Feb. 10, 2003], p. N/A,
www.dialogselectcom/news/cgi.                                            Newsbytes    News      Network.   Retrieved    from   the   Internet:
Home Loan Bank to offer check-image statements to members’               <URL:http://www.dialogselect.com/news/cgi.
customers, DialogNews Document [On-line], Dec. 29, 1994                  Open Scan Technologies and Aquracy.com Team to Speed Excep
[Retrieved Nov. 15, 2002], vol. 159, No. 248, p. 14(1), American         tion-Mail Handling, DialogNews Document [On-line], Mar. 7, 2000
Banker.     Retrieved   from   the    Internet:   <URL:http://www.       [Retrieved Feb. 10, 2003], p. 0480, Business Wire. Retrieved from
dialogselectcom/news/cgi.                                                the Internet: <URL:http://www.dialogselectcom/news/cgi.
NCR: NCR unveils ?rst multipurpose PC-based imaging product,             Sterling Commerce Announces VECTOR:Capture for Prime Pass
DialogNews Document [On-line], Oct. 29, 1990, 12:09 PT                   for NCR Transports, DialogNews Document [On-line], Feb. 28,
[Retrieved Feb. 10, 2003], Business Wire. Retrieved from the             2000, 08:16 EST [Retrieved Feb. 10, 2003], Business Wire.
Internet: <URL:http://www.dialogselectcom/news/cgi.                      Retrieved from the Internet: <URL:http://www.dialogselect.com/
NCR Unveils First Multipurpose PC-based Imaging Product,                 news/cgi.
DialogNews Document [On-line], Oct. 29, 1990 [Retrieved Feb. 10,         All?rst Financial To Use VECTOR:Capture for Prime Pass To
2003], p.     1, News Release. Retrieved from the Internet:              Enable Image Archive-Sterling Commerce helps All?rst Financial
<URL:http://www.dialogselect.com/news/cgi.                               protect existing hardware investment while implementing image
Imaging, DialogNews Document [On-line], Nov. 5, 1990 [Retrieved          strategy, DialogNews Document [On-line], Dec. 8, 2000, 10:31 EST
Feb. 10, 2003], p. 8, InformationWeek. Retrieved from the Internet:      [Retrieved Feb. 10, 2003], Business Wire. Retrieved from the
<URL:http://www.dialogselect.com/news/cgi.                               Internet: <URL:http://www.dialogselect.com/news/cgi.
Multipurpose Image Processor With Compact Unit, DialogNews               The High-Quality Imaging Solution . . . for front or back of?ce
Document [On-line], Nov. 12, 1990 [Retrieved Feb. 10, 2003], Nov.        processing, 7731, 1999 NCR Corporation, Ohio, USA.
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 11 of 39 PageID #: 37


                                                       US 7,181,430 B1
                                                                Page 10

Product Overview, 7731 Low-Volume Image Item Processor,              R. Brown, Preliminary Architecture and Project Plan, FSTC Image
NCRiHardwarei7731 [On-line] [Retrieved Feb. 10, 2003],               Interchange Project, Pilot Phase-1A, IBM Corporation, Jun. 30,
Retrieved from the Internet: <URL:wysiwyg://25/http://www.ncr.       1995, p. 1-34.
com/products/hardware/hwi773 liproducthtm.
Product Description, 7731 Personal Image Processor [On-line]         R. Brown, ANSI X946 Data Structure Reference, IBM Corpora
[Retrieved Feb. 10, 2003]. Retrieved from the Internet:              tion, Jul. 31, 1995, p. 1-16.
<URL:http://www3.ncr.com/product/?nancial/fsgwat/7731.htm.           Image Quality Functional Requirements, Jul. 26, 1995, p. 1-19.
Teller Hardware, Teller Hardware manufacturers [On-line], Mar. 28,   Program Product, Electronic Payment Systems Support/Check Pro
2001 [Retrieved Feb. 10, 2003]. Retrieved from the Internet:         cessing Control Sytstem: Program Reference and Operations
<URL:http://www.amarshall.com/resix/bodyfxftelhO1 .html.
Financial Services Technology consortium Interbank Check Imag        Manual, Program No. 5734-F11, IBM, Fax from Meinert Engineer
ing Project White Paper, Jun. 20, 1994, p. 1-30.                     ing, Aug. 8, 2002, 7 pages.
American National Standard For Financial Image Interchange:          IBM 3898 Image Processor, Product Announcement, Mar. 13, 1990,
Architecture, Overview and System Design Speci?cation (ANSI/         p. 1-3 w/summary, IBM.
ABA X9 .XX-1994 Draft version 0.7), American National Standards
                                                                     BancorpSouth Inc. DecentraliZes Check Capture and Image with
Institute, Inc., Approved 1994, p. 1-202.                            BISYS© Document Solutions [On-line].
FSIC Check Image Exchange Project-Proposed Pilot Cash Letter
Flow, Mar. 9, 1995, 5 Figures.                                       M. Garvey, Check Processing Goes Digital, InformationWeek
Pilot Overview4Options 1-3, Addendum and 3 Figures, Apr. 3,          Online News in Rev [On-line], [Retrieved Jul. 29, 2002],
 1995, p. 1-5.                                                       InformationWeek.com. Retrieved from the Internet: <URL:http://
Archive Storage and Retrieval Component Decomposition, FSTC          www.informationweek.com/648/48iuchk.htm.
Check Image Interchange Project, May 25, 1995, p. 1-20 with
attachments.                                                         * cited by examiner
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 12 of 39 PageID #: 38


U.S. Patent                      Feb. 20, 2007                       Sheet 1 0f 15                                US 7,181,430 B1




                                                                                               52.6 35
                                                                 02K                          /~:
                                                                                                           N2 5
          @ME”52582                                                  3$125.63 5 5
                                                                                                      359mg

                                                                                    a:
                                                                                            $23582 -215.5 FI5230; 25.5/
                                                                                                           (Q: (E

                      E5.252,3                                                           .EE“6x2;52% my:
                                                     m:




                                   52 38% 59:312/5.53 :2 3;0 251/$
                                          $2                $2
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 13 of 39 PageID #: 39


U.S. Patent              Feb. 20, 2007                                        Sheet 2 0f 15              US 7,181,430 B1



                                          ST\
                                          x$25; m5                              @32 5:;
                                                           02



                                                   EN




                $6.2523 5625.2%   @830:   EN
                                                         E5.m2o5i2:3 S#5 36
                                                                                @3
                                                                                          .52.5263 m”:     .0:
                                                                                                           N



                                                          (02                             (m3
                                                SN




                             :5505m E;502m;     @8302:
                                          SN(
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 14 of 39 PageID #: 40


U.S. Patent                       Feb. 20, 2007   Sheet 3 0f 15               US 7,181,430 B1




                                           EL           2L                    21
                               E5 3                           Z3QE%QE 23 :8        .M2E52”3   @280:
                                      N;
                      5;502m




     826:2.6 @Z25 8
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 15 of 39 PageID #: 41
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 16 of 39 PageID #: 42


U.S. Patent                      Feb. 20, 2007          Sheet 5 0f 15          US 7,181,430 B1




                                     21 53.2536
            $2053 52.6                5




                                                                                                  a:
                                                                                                  m

           5.;xzg55%                                       wow2;
                                   8L
                                           E52%3; m”:
    al                                                             5::E: 5 $
                            gm
                                                                                    E5.2523 x25


               .E;2523 9:
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 17 of 39 PageID #: 43
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 18 of 39 PageID #: 44
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 19 of 39 PageID #: 45
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 20 of 39 PageID #: 46
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 21 of 39 PageID #: 47
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 22 of 39 PageID #: 48
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 23 of 39 PageID #: 49
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 24 of 39 PageID #: 50
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 25 of 39 PageID #: 51
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 26 of 39 PageID #: 52
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 27 of 39 PageID #: 53
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 28 of 39 PageID #: 54
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 29 of 39 PageID #: 55
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 30 of 39 PageID #: 56
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 31 of 39 PageID #: 57
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 32 of 39 PageID #: 58
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 33 of 39 PageID #: 59
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 34 of 39 PageID #: 60
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 35 of 39 PageID #: 61
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 36 of 39 PageID #: 62
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 37 of 39 PageID #: 63
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 38 of 39 PageID #: 64
Case 2:18-cv-00007-JRG Document 1-2 Filed 01/10/18 Page 39 of 39 PageID #: 65
